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 5
   Attorneys for Plaintiff
 6 United States of America

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-190 GEB
11
                                  Plaintiff,            STIPULATION AND [PROPOSED] ORDER
12                                                      RESETTING SENTENCING DATE
                            v.
13
     GEORGE B. LARSEN,
14                                Defendants.
15

16
            The parties request that the date for sentencing be continued to May 18, 2018, to allow time for
17
     completion of the presentence report and sentencing memoranda. The parties agree to the following
18

19 schedule:

20          Judgment and Sentencing Date: May 18, 2018
21

22
            Reply, or Statement of Non-Opposition: May 11, 2018
23

24
            Motion for Correction of the Presentence Report shall be filed with the Court and served on the
25

26          Probation Officer and opposing counsel no later than: May 4, 2018

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           Case 2:15-cr-00190-KJM Document 351 Filed 03/15/18 Page 2 of 2


 1        The Presentence Report shall be filed with the Court and disclosed to counsel no later than:

 2        April 27, 2018
 3

 4
          Counsel's written objections to the Presentence Report shall be delivered to the Probation Officer
 5
          and opposing counsel no later than: April 20, 2018
 6

 7

 8        The proposed Presentence Report shall be disclosed to counsel no later than: April 6, 2018

 9
10 Dated: March 13, 2018                               Respectfully submitted,
11
                                                       McGREGOR W. SCOTT
12                                                     United States Attorney
13                                             By:     /s/ Audrey B, Hemesath
                                                       AUDREY B. HEMESATH
14                                                     Assistant U.S. Attorney
15

16                                             By:     /s/ Dustin Johnson
                                                       DUSTIN JOHNSON
17                                                     Counsel for George B. Larsen
18

19

20                                                ORDER
21        It is so ordered.
22

23        Dated: March 15, 2018

24

25

26
27

28

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